1700 G Street NW, Washington, D.C. 20552




April 8, 2024

VIA CM/ECF

Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
Office of the Clerk
F. Edward Herbert Building
600 S. Maestri Place
New Orleans, LA 70130

Re: Chamber of Commerce of the United States, et al. v. Consumer Financial
    Protection Bureau, No. 24-10248

        Letter Regarding Supplement to Certificate of Interested Persons

Dear Mr. Cayce:

      The Consumer Financial Protection Bureau and Rohit Chopra, in his official
capacity as Director of the Consumer Financial Protection Bureau (collectively, the
Bureau) write to supplement the Certificates of Interested Persons that Plaintiffs-
Appellants Chamber of Commerce, et al., filed in No. 24-10248, see ECF No. 7 at
PDF page 3, and in No. 24-10266, see ECF No. 5 at PDF page 3.1




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    As a governmental party, the Bureau was not required to file a certificate of
    interested persons itself under Fifth Circuit Rule 28.2. The Bureau did file a




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        Fifth Circuit Rule 28.2.1 is “broader in scope than the disclosure statement
contemplated in Fed. R. App. P. 26.1,” and requires “a complete list of all persons,
associations of persons, firms, partnerships, corporations, guarantors, insurers,
affiliates, parent corporations, or other legal entities who or which are financially
interested in the outcome of the litigation.” 5th Cir. R. 28.2. Specification of any
“large group of persons” can be made “by a generic description.” Id.

       The Bureau writes to inform the Court that, in addition to the party
associations listed in the Chamber, et al.’s Certificates, large credit card issuers—
those that, together with their affiliates, have one million or more open credit card
accounts—have a financial interest in the outcome of the litigation. The Bureau
makes this representation in order that the judges of this court may evaluate
possible disqualification or recusal.

                                              Respectfully submitted,

                                              /s/ Stephanie B. Garlock
                                              Stephanie B. Garlock
                                                  Counsel
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cc:   Counsel of Record (via CM/ECF)




 certificate pursuant to the Local Rules of the Northern District of Texas in the
 proceeding below. See Dist. Ct. Dkt. No. 36; N.D. Tex. L.R. 3.1(c), 7.4. That
 certificate noted, as the Bureau notes here, that large credit card issuers have a
 financial interest in the outcome of this litigation.



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